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 7
                                 UNITED STATES DISTRICT COURT
 8
                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     United States of America,                      )    Case No.: Cr.S-08-123-GEB
11                                                  )
                   Plaintiff,                       )    ORDER FOR CONTINUANCE OF
12                                                  )    SENTENCING
            vs.                                     )
13                                                  )    Date: January 8, 2010
     Serafin Gonzalez,                              )    Time: 9:00 a.m.
14                                                  )    Judge: Hon. Garland E. Burrell, Jr.
                   Defendant                        )
15                                                  )
                                                    )
16                                                  )
                                                    )
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18          GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,
19   sentencing in the above-captioned action is continued from January 8, 2010 at 9:00 a.m. to
20
     March 12, 2010 at 9:00 a.m..
21
     IT IS SO ORDERED.
22
     1/11/10
23                                            GARLAND E. BURRELL, JR.
                                              United States District Judge
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